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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


GINA MCINTOSH, Individually and On         Case No.
Behalf of All Others Similarly Situated,
                                           CLASS ACTION COMPLAINT FOR
                             Plaintiff,    VIOLATIONS OF THE FEDERAL
                                           SECURITIES LAWS
              v.

KATAPULT HOLDINGS, INC., LEE               JURY TRIAL DEMANDED
EINBINDER, HOWARD KURZ,
ORLANDO ZAYAS, and KARISSA
CUPITO,

                             Defendants.
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       Plaintiff Gina McIntosh (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, her counsel’s investigation,

which includes without limitation: (a) review and analysis of regulatory filings made by Katapult

Holdings, Inc. (“Katapult” or the “Company”), f/k/a FinServ Acquisition Corp. (“FinServ”), with

the United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b) review and

analysis of press releases and media reports issued by and disseminated by Katapult; and (c)

review of other publicly available information concerning Katapult.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired Katapult securities between December 18, 2020 and August 10, 2021, inclusive (the

“Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.       Katapult claims to be a “next-generation platform for digital and mobile-first

commerce focused on the non-prime consumer.” Katapult provides point-of-sale lease-purchase

options for non-prime consumers (i.e. consumers with credit scores are higher than those of

subprime borrowers, but lower than those of prime borrowers) who cannot access traditional

financing products. Katapult allegedly “solves critical consumer pain points by transforming the

way non-prime consumers shop for durable goods” and claims merchants benefit from “higher

retail conversion and greater marketing spend efficiency by reaching this underserved segment.”

       3.       FinServ was a blank check company formed for the purpose of effecting a merger,

capital stock exchange, asset acquisition, stock purchase, reorganization or similar business

combination with one or more businesses.


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       4.       On December 18, 2020, FinServ announced that it had entered into a definitive

merger agreement with legacy Katapult1 whereby the combined company would operate as

Katapult and its shares would trade on NASDAQ under the new symbol “KPLT.” FinServ touted

legacy Katapult as “[a] leading e-commerce POS, lease purchase platform provider focused on

the estimated $50 billion of annual nonprime consumer durable goods e-commerce spend” with

an “[e]stablished position in e-commerce ecosystem with significant platform support from top-

tier e-commerce retailers, leading e-commerce platforms and lending partners.”

       5.       On June 9, 2021, Katapult announced that it had completed the merger. On June

10, 2021, Katapult announcing that its shares and warrants would begin trading on the NASDAQ

Stock Market under the symbols “KPLT” and “KPLTW” respectively.

       6.       On August 10, 2021, Katapult issued a press release announcing disappointing

financial results for the second quarter of 2021 including a net loss of $8.1 million, compared to

$5.1 million in net income for the second quarter of 2020. The Company further disclosed that it

“observed meaningful [negative] changes in both e-commerce retail sales forecasts and

consumer spending behavior” and retracted its full year 2021 guidance, claiming it could not

“accurately predict our consumer’s buying behaviors for the remainder of the year.”

       7.       On this news, the Company’s share price fell $5.47, or more than 56%, to close at

$4.26 per share on August 10, 2021, on unusually heavy trading volume.

       8.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that

Katapult was experiencing declining e-commerce retail sales and consumer spending, (2) that

1
 The pre-merger, private entity, Katapult Holdings, Inc., is referred to herein as “legacy
Katapult” to distinguish it from the post-merger Katapult.


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despite Katapult’s assertions that it was clear and compelling value proposition to both

consumers and merchants, transforming the way nonprime consumers shop for essential goods

and enabling merchant access to this underserved segment, Katapult lacked visibility into its

consumers’ future buying behavior; and (3) that, as a result of the foregoing, Defendants’

positive statements about the Company’s business, operations, and prospects were materially

false and misleading and/or lacked a reasonable basis.

       9.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                 JURISDICTION AND VENUE

       10.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       11.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       12.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,

occurred in substantial part in this Judicial District. In addition, prior to the merger, FinServ’s

principal executive offices were located in this District.

       13.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the




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United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                            PARTIES

       14.     Plaintiff Gina McIntosh, as set forth in the accompanying certification,

incorporated by reference herein, purchased Katapult securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

       15.     Defendant Katapult (f/k/a FinServ) is incorporated under the laws of Delaware

with its principal executive offices located in Plano, Texas. Katapult’s common stock and

warrants trade on the NASDAQ Stock Market under the symbols “KPLT” and “KPLTW”

respectively. Before the merger closed on June 9, 2021, FinServ’s Class A common stock traded

on the NASDAQ exchange under the symbol “FSRV,” its redeemable warrants under the symbol

“FSRVW,” and its units under the symbol “FSRVU.” Each unit consisted of one share of Class

A common stock and one-half of one redeemable warrant.

       16.     Defendant Lee Einbinder (“Einbinder”) was the Chief Executive Officer (“CEO”)

of FinServ prior to the merger, and a member of Katapult’s board of directors after the merger.

       17.     Defendant Howard Kurz (“Kurz”) was the Chief Financial Officer (“CFO”) of

FinServ prior to the merger.

       18.     Defendant Orlando Zayas (“Zayas”) was the CEO of legacy Katapult prior to the

merger, and the CEO of Katapult after the merger.

       19.     Defendant Karissa Cupito (“Cupito”) was the CFO of legacy Katapult prior to the

merger, and the CEO of Katapult after the merger.

       20.     Defendants Einbinder, Kurz, Zayas, and Cupito (collectively the “Individual

Defendants”), because of their positions with the Company, possessed the power and authority to


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control the contents of the Company’s reports to the SEC, press releases and presentations to

securities analysts, money and portfolio managers and institutional investors, i.e., the market.

The Individual Defendants were provided with copies of the Company’s reports and press

releases alleged herein to be misleading prior to, or shortly after, their issuance and had the

ability and opportunity to prevent their issuance or cause them to be corrected. Because of their

positions and access to material non-public information available to them, the Individual

Defendants knew that the adverse facts specified herein had not been disclosed to, and were

being concealed from, the public, and that the positive representations which were being made

were then materially false and/or misleading. The Individual Defendants are liable for the false

statements pleaded herein.

                              SUBSTANTIVE ALLEGATIONS

                                           Background

       21.    Katapult claims to be a “next-generation platform for digital and mobile-first

commerce focused on the non-prime consumer.” Katapult provides point-of-sale lease-purchase

options for non-prime consumers who cannot access traditional financing products. Katapult

allegedly “solves critical consumer pain points by transforming the way non-prime consumers

shop for durable goods” and claims merchants benefit from “higher retail conversion and greater

marketing spend efficiency by reaching this underserved segment.”

       22.    FinServ was a blank check company formed for the purpose of effecting a merger,

capital stock exchange, asset acquisition, stock purchase, reorganization or similar business

combination with one or more businesses.




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                               Materially False and Misleading
                          Statements Issued During the Class Period

       23.     The Class Period begins on December 18, 2020. On that day, FinServ issued a

press release entitled “Katapult to Become a Publicly Traded Company through Merger with

FinServ Acquisition Corp.” Therein, FinServ, in relevant part, stated:

       New York, NY, December 18, 2020 – Katapult Holding, Inc. (“Katapult”), an e-
       commerce focused financial technology company, and FinServ Acquisition Corp.
       (NASDAQ: FSRV) (“FinServ”), a special purpose acquisition company, today
       announced that they have entered into a definitive merger agreement. Upon
       closing of the transaction, the combined company (the “Company”) will operate
       as Katapult and plans to trade on Nasdaq under the new symbol “KPLT”. The
       transaction reflects an implied pro forma combined enterprise value for the
       Company of approximately $1 billion.

       Katapult is a leading provider of e-commerce point-of-sale (“POS”) purchase
       options for nonprime US consumers. Katapult’s fully digital, next generation
       technology platform provides consumers with a flexible lease purchase option to
       enable them to obtain essential durable goods from Katapult’s network of top tier
       e-commerce retailers. Katapult’s sophisticated end-to-end technology platform
       provides both a seamless integration with merchants and exceptional customer
       experiences.

       Orlando Zayas, CEO of Katapult, stated, “Today’s announcement marks the
       beginning of an exciting new chapter in our history and we are delighted to be
       entering into this transaction with FinServ to become a publicly traded company.
       Since our inception, Katapult’s goal has always been to provide a clear,
       transparent, and attractive transaction solution for nonprime consumers to access
       the essential products they need for everyday living. Today, we are serving over
       150 merchants and 1.4 million consumers with our leading technology platform
       and e-commerce POS solution. This transaction will allow us to accelerate our
       growth opportunities and continue to build the premier company that provides
       consumers access to the goods they need and deserve through a flexible lease
       purchase transaction. It is an honor to lead Katapult’s strategic direction and my
       pleasure to continue to work with our great team to continue to grow this
       business.”

       Lee Einbinder, CEO of FinServ, stated, “After a comprehensive search process, in
       which we examined numerous business combination opportunities, Katapult
       emerged as the most impressive partner, exceeding all of our criteria for a
       successful transaction. Katapult has a differentiated and best-in-class technology
       platform, with significant opportunities to continue its growth trajectory by
       expanding its merchant and consumer base. We are pleased to help facilitate
       Katapult’s listing on Nasdaq, and excited to be partnering with their entire


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management team as they continue to lead Katapult’s expansion as a publicly
listed company.”

Brian Hirsch, Co-founder & Managing Partner of Tribeca Venture Partners and
Director of Katapult, stated, “Katapult’s next generation technology platform,
which provides a seamless digital experience for both consumers and merchants,
ease of use and quick integration, and sophisticated risk modelling has helped fuel
the company’s explosive growth over the past three years under Orlando’s
leadership. This transaction provides Katapult with an even greater ability to
strategically invest in its organic growth based on the large addressable market
they serve.”

Katapult Investment Highlights

      A leading e-commerce POS, lease purchase platform provider focused on
       the estimated $50 billion of annual nonprime consumer durable goods e-
       commerce spend

      Delivers a clear and compelling value proposition to both consumers and
       merchants, transforming the way nonprime consumers shop for essential
       goods and enabling merchant access to this underserved segment

      Proprietary technology platform, purpose-built for e-commerce,
       combining superior consumer and merchant experiences with powerful
       risk management capabilities and scalability

      Established position in e-commerce ecosystem with significant platform
       support from top-tier e-commerce retailers, leading e-commerce platforms
       and lending partners

      Attractive, profitable financial profile with approximately $250 million of
       projected revenue (+172% y/y) for 2020

      Proven and experienced management team, who will continue leading the
       combined company

Transaction Summary

Under the terms of the proposed Transaction, FinServ will merge with Katapult at
a pro forma combined enterprise value of approximately $1 billion and equity
value of $962 million, representing EV/EBITDA multiples of 14.1x and 6.6x
projected EBITDA for 2021 and 2022, respectively. Total consideration paid to
Katapult’s existing shareholders will be $833 million.

Cash proceeds of the transaction will fund up to $325 million of cash
consideration to Katapult’s existing shareholders and $50 million of cash to
Katapult’s balance sheet. The cash components of the transaction will be funded
by FinServ’s cash in trust of $250 million (assuming no redemptions) as well as a


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       $150 million private placement of common stock at $10 per share from various
       institutional investors, led by Tiger Global Management and Neuberger Berman
       Funds, that will close concurrently with the merger. The balance of the
       consideration to Katapult’s equity holders will consist of equity in the Company.
       Existing Katapult equity holders have the potential to receive an earnout for
       additional shares of equity if certain price targets are met as set forth in the
       definitive merger agreement. Katapult’s current equity holders will own
       approximately 50% of the pro forma company, assuming no cash redemptions.

       The transaction is expected to close during the first half of 2021 and remains
       subject to approval by FinServ stockholders representing a majority of the
       outstanding FinServ voting power, the effectiveness of a registration statement to
       be filed with the Securities and Exchange Commission (the “SEC”) in connection
       with the transaction, the expiration of the HSR Act waiting period, and other
       customary closing conditions. The Boards of Directors of both Katapult and
       FinServ have unanimously approved the contemplated transaction.

       24.       On January 20, 2021, FinServ and legacy Katapult were featured at the Northland

Capital SPAC Investor Conference. During the conference, Defendant Einbinder stated, in

relevant part:

       And [legacy Katapult] is really a technology company at heart, really benefiting
       from the trends in migration to e-commerce, which has only been accelerated with
       COVID.

       And the management team has the right background and not only just
       background, the proof is in the pudding as they say, they’ve had over 100%
       organic growth in top line revenues, for the three years that they’ve been running
       this company as a team.

       And more importantly, going forward, the growth rates are going to continue to
       be very high relative to other opportunities. So depending on what you want to
       look at EBITDA or revenues, you’re talking about growth rates that are north of
       75%.

       We also feel like the point of sale, payment market, if you will, whether there is a
       lot of players coming into it, mentioned Affirm before that there’s other players in
       the market, whether it’s a PayPal, and Afterpay, Sezzle or whatever. Katapult is
       the only company that we’re aware of that is playing in that market for the
       nonprime consumer.

       Now, there are other folks trying to get into it. But Katapult is, and I think the
       team will tell you this has been their mission from since this management team
       started running the company, is to be only in the e-commerce sector and online in
       a digital way. And their technology has proved out and that’s why we’ve done our


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       own due diligence with their key merchants, and that’s why the merchants loved
       them.

       And we think the business model is resilient. This is a company that will do well,
       whether it’s a good economy or bad economy, and actually with COVID, actually
       there’s benefits and the company will talk about that. So we think the company is
       only scratching the surface, we think there’s tremendous upside. The stock market
       is obviously reacted well since the announcement. But even with that and we’ll
       talk about valuation at the end, we think this is still a very compelling valuation,
       we think there’s still a lot of room to run both by the management team to deliver
       on the projections that they’ll share with you and for the stock as well.

       25.       On May 18, 2021, FinServ filed its Proxy Statement and Prospectus on Form

424b3 soliciting stockholder approval of the merger. Therein, FinServ stated, in relevant part:

       FinServ’s board of directors considered a number of factors pertaining to the
       merger as generally supporting its decision to enter into the merger agreement and
       the transactions contemplated thereby, including, but not limited to, the following
       material factors:

                Growth Prospects. Katapult is a market leader in an attractive and
                 growing industry with an already successful business and with strong
                 growth prospects within the e-commerce sector of the fintech industry;

                Large Addressable Market. Katapult competes in a total U.S. addressable
                 market estimated currently at approximately $40-50 billion. Supported by
                 powerful consumer and retail trends, Katapult’s potential addressable
                 market will continue to grow;

                Proprietary Technology Platform with Compelling Value Proposition.
                 Katapult has innovated with a proprietary platform that provides
                 scalability, operational efficiency and competitive differentiation and a
                 two-sided value proposition to both merchants and consumers;

                Due Diligence. Due diligence examinations of Katapult and discussions
                 with Katapult’s management and FinServ’s legal advisors concerning
                 FinServ’s due diligence examination of Katapult;

                Financial Condition. FinServ’s board of directors also considered factors
                 such as Katapult’s historical financial results, outlook, financial plan and
                 debt structure, as well as the financial profiles of publicly traded
                 companies in the fintech industry and adjacent markets, and certain
                 relevant information with respect to companies that had been acquisition
                 targets or received equity financings in transactions similar to the merger.
                 In considering these factors, FinServ’s board of directors reviewed


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                    Katapult’s recent growth in certain key financial metrics (including
                    merchants, consumers, revenue and adjusted EBITDA metrics), the
                    current prospects for growth if Katapult achieved its business plans and
                    various historical and current balance sheet items for Katapult. In
                    reviewing these factors, FinServ’s board of directors noted that Katapult
                    was well-positioned in its industry for strong future growth;

                   Experienced and Proven Management Team. Katapult has a strong
                    management team and the senior management of Katapult intend to
                    remain with New Katapult in the capacity of officers and/or directors,
                    which will provide helpful continuity in advancing Katapult’s strategic
                    and growth goals;

                   Lock-Up. The Chief Executive Officer and certain other significant Pre-
                    Closing Holders of Katapult have agreed to be subject to a six-month lock-
                    up in respect of their shares of New Katapult common stock (subject to
                    certain customary exceptions);

                   Other Alternatives. FinServ’s board of directors believes, after a thorough
                    review of other business combination opportunities reasonably available to
                    FinServ, that the proposed merger represents the best potential business
                    combination for FinServ and the most attractive opportunity for FinServ’s
                    management to accelerate its business plan based upon the process utilized
                    to evaluate and assess other potential acquisition targets, and FinServ’s
                    board of directors’ belief that such process has not presented a better
                    alternative; and

                   Negotiated Transaction. The financial and other terms of the merger
                    agreement and the fact that such terms and conditions are reasonable and
                    were the product of arm’s length negotiations between FinServ and
                    Katapult.

          26.       On May 19, 2021, FinServ issued a press release entitled “FinServ Acquisition

Corp. Announces Effectiveness of Registration Statement and Special Meeting Date for

Proposed Business Combination with Katapult Holdings, Inc.” Therein, FinServ, in relevant part,

stated:

          NEW YORK--(BUSINESS WIRE)--FinServ Acquisition Corp., Inc. (“FinServ”)
          (NASDAQ: FSRV) announced today that the U.S. Securities and Exchange
          Commission (the “SEC”), has declared effective its Registration Statement on
          Form S-4 (as amended, the “Registration Statement”), which includes a definitive
          proxy statement/prospectus in connection with FinServ’s special meeting of



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       stockholders (the “Special Meeting”) to approve the proposed business
       combination with Katapult Holdings, Inc. (“Katapult”).

       FinServ Acquisition Corp.’s stockholders of record at the close of business on
       May 11, 2021 (the “Record Date”) are entitled to receive notice of the Special
       Meeting and to vote the shares of common stock of FinServ owned by them at the
       Special Meeting. The Special Meeting will be held on June 7, 2021, at 2:00 p.m.
       Eastern Time, via a virtual meeting at the following address:
       https://www.cstproxy.com/finservacquisition/sm2021. Registration will begin on
       June 3, 2021 at 9:00 a.m. Eastern Time. FinServ Acquisition Corp. stockholders
       entitled to vote at the Special Meeting will need the control number that is printed
       on their respective proxy cards to enter the Special Meeting.

       27.     On June 9, 2021, the Company issued a press release entitled “Katapult

Completes Business Combination with FinServ Acquisition Corp. & Announces Timing of First

Quarter 2021 Financial Results Conference Call.” Therein, Katapult stated, in relevant part:

       NEW YORK, June 09, 2021 (GLOBE NEWSWIRE) -- Katapult Holdings, Inc.,
       an e-commerce focused financial technology company, and FinServ Acquisition
       Corp. (“FinServ”), a special purpose acquisition company, today announced that
       they have completed their previously announced merger. The business
       combination was approved at a special meeting of stockholders of FinServ on
       June 7, 2021, and closed today, June 9, 2021. The combined company now
       operates as Katapult Holdings, Inc. (“Katapult”) and Katapult’s common shares
       and warrants will begin trading on the Nasdaq Stock Market under the ticker
       symbols “KPLT” and “KPLTW”, respectively, starting tomorrow, June 10, 2021.

       Katapult’s management team, led by CEO Orlando Zayas, will continue to
       execute the growth strategy of the Company. Brian Hirsch, Managing Partner at
       Tribeca Venture Partners and one of the original investors in Katapult will serve
       as Chairman of Katapult’s newly formed Board of Directors.

       Orlando Zayas, CEO of Katapult, stated, “Taking our company public is a
       testament to the hard work and dedication of the entire Katapult team. We would
       like to thank the FinServ team for their belief in our success, and we look forward
       to their continued partnership as stockholders and members of our Board. We are
       thrilled to embark on this next stage in our company’s history and excited to see
       the opportunities ahead of us for strong growth and long-term value creation.”

       Lee Einbinder, CEO of FinServ, stated, “We are pleased to complete the merger
       with Katapult, and I am very excited to continue to work with the Katapult team
       to execute on their growth plan. Katapult’s differentiated and best-in-class fintech
       platform, growing roster of high-quality merchant partners, and expanding
       customer base make it well-positioned for a strong growth trajectory.”



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       28.       On June 10, 2021, the Company issued a press release entitled “Katapult

Announces First Day of Trading.” Therein, Katapult stated, in relevant part:

       NEW YORK, June 10, 2021 (GLOBE NEWSWIRE) -- Katapult Holdings, Inc.
       (NASDAQ: KPLT), a leading e-commerce focused financial technology
       company, today announced it will begin trading its common shares and warrants
       on the Nasdaq Stock Market under the Ticker “KPLT” and “KPLTW”
       respectively.

       Katapult Holdings Inc. and FinServ Acquisition Corp., a special acquisition
       company, closed their previously announced merger on June 9, 2021, and the
       combined company now operates as Katapult Holdings Inc.

       “Today is the mark of a very important milestone for Katapult and I am
       immensely proud of our team and their dedication to our mission to bring
       nonprime consumers the same buying power as a prime consumer. We have seen
       significant revenue growth and look forward to working with the amazing team at
       FinServ to continue executing our growth strategy,” said Orlando Zayas, CEO of
       Katapult, who will continue to lead the company.

       29.       On June 15, 2021, the Company issued a press release entitled “Katapult

Announces First Quarter 2021 Financial Results.” Therein, Katapult stated, in relevant part:

       NEW YORK, June 15, 2021 (GLOBE NEWSWIRE) -- Katapult Holdings, Inc.
       (“Katapult” or the “Company”) (NASDAQ: KPLT), an e-commerce focused
       financial technology company, today announced financial results for the first
       quarter ended March 31, 2021.

       “We are pleased to report strong first quarter 2021 results and excited to begin a
       new chapter as a publicly traded company. Our results reflect solid execution and
       a strong positive trajectory in our business as we continue to onboard more
       merchants and drive growth with our existing customers,” said Orlando Zayas,
       CEO of Katapult. “Looking to the remainder of 2021 and beyond, we are excited
       about the breadth of opportunities available to us to continue to expand our
       business and build long-term shareholder value.”

       First Quarter 2021 Financial and Operating Highlights:

                Total Revenue for the first quarter was $80.6 million, an increase of 88%
                 year-over-year, driven by strong growth in originations as we continue to
                 add new merchant relationships and expand with our existing merchants.




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                Gross Originations were $63.7 million, an increase of 71% from $37.2
                 million in Q1 2021.

                Onboarded 26 new retailers in the first quarter of 2021, including
                 Motorola, Simply Mac, and Cybertron.

                Our Adjusted EBITDA in the first quarter was $14.7 million, up 122%
                 from $6.6 million in the first quarter of 2020, primarily reflecting the
                 scalability of our business as revenue growth is outpacing our operating
                 expense growth.

                Net Income was $8.1 million in the first quarter, up 120% year-over-year.
                 Adjusted Net Income for the first quarter was $9.3 million, up 146% from
                 $3.8 million in the first quarter of 2020.

                                         *       *       *

       2021 Financial Guidance

       As of June 15, 2021, Katapult anticipates FY 2021 Gross Originations, Revenue
       and Adjusted EBITDA to be in the following ranges:

                Gross Originations: $375-$425 million

                Revenue: $425-$475 million

                Adjusted EBITDA: $50-$60 million

       30.       The above statements identified in ¶¶ 23 – 29 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that

Katapult was experiencing declining e-commerce retail sales and consumer spending, (2) that

despite Katapult’s assertions that it was clear and compelling value proposition to both

consumers and merchants, transforming the way nonprime consumers shop for essential goods

and enabling merchant access to this underserved segment, Katapult lacked visibility into its

consumers’ future buying behavior; and (3) that, as a result of the foregoing, Defendants’




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positive statements about the Company’s business, operations, and prospects were materially

false and misleading and/or lacked a reasonable basis.

                            Disclosures at the End of the Class Period

       31.       On August 10, 2021, Katapult issued a press release disclosing poor financial

results for the second quarter of 2021, eliminated its prior financial guidance, and disclosed that

it lacked visibility into its consumers buying behaviors. Specifically, Katapult stated:

       PLANO, Texas, Aug. 10, 2021 (GLOBE NEWSWIRE) -- Katapult Holdings, Inc.
       (“Katapult” or the “Company”) (NASDAQ: KPLT), an e-commerce focused
       financial technology company, today announced financial results for the second
       quarter ended June 30, 2021.

       “We are pleased to report second quarter 2021 results and are confident in our
       strategy to deliver value to our business partners and consumers and are excited
       about the growing interest in Katapult from both merchants, e-commerce
       platforms, and prime partners” said Orlando Zayas, CEO of Katapult. “Looking to
       the remainder of 2021 and beyond, we are excited about the opportunities
       available to us to continue to expand financial possibilities for consumers that are
       left behind and looking for items that they need.”

       Second Quarter 2021 Financial and Operating Highlights:

                Total revenue was $77.5 million, an increase of 27.6% year-over-year.
                 Year-to-date revenue reached $158.1 million as compared to $103.6
                 million last year, an increase of 52.6% year-over-year.

                Gross Originations were $64.4 million, up 1% compared to the first
                 quarter of 2021, and down 17% year-over-year. Our compound annual
                 growth rate for Gross Originations was 75.4% from the second quarter of
                 2019 through the second quarter of 2021.

                Onboarded 31 new retailers.

                Net loss was $8.1 million, down from $5.1 million of net income in the
                 second quarter of 2020. Adjusted net income was $1.5 million, down
                 70.4% from $5.2 million in the second quarter of 2020.

                Adjusted EBITDA was $3.9 million, down 64.8% from $11.1 million in
                 the second quarter of 2020, primarily reflecting our increased investment
                 in growth initiatives, more normalized, and therefore lower, seasonal lease
                 payment performance, new hire costs and incremental public company
                 costs.


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       Guidance

       Since our Q1 earnings call and continuing to date, many new developments
       emerged that have an impact to our business. We observed meaningful changes in
       both e-commerce retail sales forecasts and consumer spending behavior, and in
       the past few weeks, the onset of new policies from the COVID-19 variants. Given
       the current macro trends and uncertainty to accurately predict our consumer’s
       buying behaviors for the remainder of the year, we believe it is best to remove
       explicit guidance for the remainder of 2021. While the short-term outlook may
       not be 100% clear, we do continue to believe in our mission, our core business
       fundamentals, and are extremely pleased with the progress of our strategic
       investments that will drive long term growth. We expect to have more insight into
       these new and evolving patterns by our third quarter earnings call.

       32.     On this news, the Company’s share price fell $5.47, or more than 56%, to close at

$4.26 per share on August 10, 2021, on unusually heavy trading volume.

                              CLASS ACTION ALLEGATIONS

       33.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired Katapult securities between December 18, 2020 and August 10,

2021, inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are

Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Defendants have or had a controlling interest.

       34.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Katapult’s shares actively traded on the NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

thousands of members in the proposed Class. Millions of Katapult shares were traded publicly

during the Class Period on the NASDAQ. Record owners and other members of the Class may

be identified from records maintained by Katapult or its transfer agent and may be notified of the


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pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        35.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        36.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        37.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Katapult; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        38.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.




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                             UNDISCLOSED ADVERSE FACTS

         39.   The market for Katapult’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Katapult’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Katapult’s securities

relying upon the integrity of the market price of the Company’s securities and market

information relating to Katapult, and have been damaged thereby.

         40.   During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Katapult’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

as set forth herein, not false and/or misleading. The statements and omissions were materially

false and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about Katapult’s business, operations, and prospects as alleged herein.

         41.   At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Katapult’s financial well-being and prospects.         These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at




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artificially inflated prices, thus causing the damages complained of herein when the truth was

revealed.

                                      LOSS CAUSATION

       42.      Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       43.      During the Class Period, Plaintiff and the Class purchased Katapult’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                 SCIENTER ALLEGATIONS

       44.      As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by

virtue of their receipt of information reflecting the true facts regarding Katapult, their control

over, and/or receipt and/or modification of Katapult’s allegedly materially misleading

misstatements, their desire to complete the merger, and/or their associations with the Company

which made them privy to confidential proprietary information concerning Katapult, participated

in the fraudulent scheme alleged herein.




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                     APPLICABILITY OF PRESUMPTION OF RELIANCE
                         (FRAUD-ON-THE-MARKET DOCTRINE)

       45.     The market for Katapult’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Katapult’s securities traded at artificially inflated prices during the Class Period. On

February 12, 2021, the Company’s share price closed at a Class Period high of $19.09 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of Katapult’s securities and market

information relating to Katapult, and have been damaged thereby.

       46.     During the Class Period, the artificial inflation of Katapult’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Katapult’s business, prospects, and operations. These material

misstatements and/or omissions created an unrealistically positive assessment of Katapult and its

business, operations, and prospects, thus causing the price of the Company’s securities to be

artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company shares. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

       47.     At all relevant times, the market for Katapult’s securities was an efficient market

for the following reasons, among others:

               (a)     Katapult shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;



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               (b)     As a regulated issuer, Katapult filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     Katapult regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

               (d)     Katapult was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms.        Each of these reports was publicly

available and entered the public marketplace.

         48.   As a result of the foregoing, the market for Katapult’s securities promptly

digested current information regarding Katapult from all publicly available sources and reflected

such information in Katapult’s share price. Under these circumstances, all purchasers of

Katapult’s securities during the Class Period suffered similar injury through their purchase of

Katapult’s securities at artificially inflated prices and a presumption of reliance applies.

         49.   A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is

not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the




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sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                        NO SAFE HARBOR

        50.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Katapult who knew that the statement was false when made.

                                           FIRST CLAIM

                          Violation of Section 10(b) of The Exchange Act and
                                 Rule 10b-5 Promulgated Thereunder
                                        Against All Defendants

        51.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        52.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing


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public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Katapult’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

defendant, took the actions set forth herein.

       53.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Katapult’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       54.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Katapult’s financial

well-being and prospects, as specified herein.

       55.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Katapult’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Katapult and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a




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course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       56.     Each of the Individual Defendants’ primary liability and controlling person

liability arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

       57.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Katapult’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to




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obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       58.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Katapult’s securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired Katapult’s securities during the Class Period at artificially high prices and were

damaged thereby.

       59.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Katapult was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Katapult securities,

or, if they had acquired such securities during the Class Period, they would not have done so at

the artificially inflated prices which they paid.

       60.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.




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        61.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                          Violation of Section 20(a) of The Exchange Act
                                Against the Individual Defendants

        62.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        63.     Individual Defendants acted as controlling persons of Katapult within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading. Individual Defendants were provided with or

had unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements

were issued and had the ability to prevent the issuance of the statements or cause the statements

to be corrected.

        64.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.



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       65.     As set forth above, Katapult and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the

Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: August 27, 2021                        GLANCY PRONGAY & MURRAY LLP

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                            Attorneys for Plaintiff Gina McIntosh




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                       SWORN CERTIFICATION OF PLAINTIFF



      Katapult Holdings, Inc., SECURITIES LITIGATION

           Gina McIntosh
I,                                                , certify:

      1.   I have reviewed the complaint and authorized its filing and/or adopted its allegations.

      2.   I did not purchase Katapult Holdings, Inc., the security that is the subject of this
           action at the direction of plaintiff’s counsel or in order to participate in any private
           action arising under this title.

      3.   I am willing to serve as a representative party on behalf of a class and will testify at
           deposition and trial, if necessary.

      4.   My transactions in Katapult Holdings, Inc., during the class period set forth in the
           Complaint are as follows:

              See Attached Transactions

      5.   I have not served as a representative party on behalf of a class under this title during
           the last three years except as stated:

      6.   I will not accept any payment for serving as a representative party, except to receive
           my pro rata share of any recovery or as ordered or approved by the court including
           the award to a representative plaintiff of reasonable costs and expenses (including
           lost wages) directly relating to the representation of the class.

                 ⁭ Check here if you are a current employee or former employee of the
              defendant Company.

              I declare under penalty of perjury that the foregoing are true and correct
              statements.

       8/17/2021

Dated: ________________                    ____________________________________________
                                             Gina McIntosh
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       Gina McIntosh's Transactions in Katapult Holdings, Inc.
                             (KPLT)
       Date     Transaction Type      Quantity       Unit Price
       8/6/2021      Bought                 1,100         $9.3766
      8/10/2021        Sold                  -700         $4.7450
      8/10/2021        Sold                  -400         $4.7401
